      Case 3:20-cv-05695-TKW-EMT Document 35 Filed 05/26/21 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 SHAKEENA RICE, individually and on           Case No. 3:20-cv-05695-TKW-EMT
 behalf of all others similarly situated;
 TENETIA TURNER, an individual;               COLLECTIVE ACTION
 ASHLEY JORDAN, an individual,

        Plaintiffs,

 v.

 MR. T’S, INC., a Florida corporation,
 formerly dba LOOKERS LOUNGE, aka
 CHEETAH; TERRY L. THOMAS, an
 individual; CLIFFORD G. MCGHEE,
 an individual; and DOES 1 through 10,
 inclusive,

        Defendants.


            NOTICE OF SATISFACTION OF JUDGMENTS AND
           JOINT REQUEST FOR DISMISSAL WITH PREJUDICE

       COME NOW plaintiffs Shakeena Rice, Tenetia Turner, and Ashley Jordan

(“Plaintiffs”) and defendants Mr. T’s, Inc., formerly Lookers Lounge, aka Cheetah,

Terry L. Thomas, and Clifford G. McGehee (collectively, “Defendants”), by and

through their respective counsel of record, and respectfully submit this Notice of

Satisfaction of Judgments and Joint Request for Dismissal with Prejudice as follows:

       WHEREAS, Judgment [Dkt. 32] was entered in the above-action on May 3,

2021 in favor of plaintiff Shakeena Rice (“Plaintiff”) and Defendants in the amount

NOTICE OF SATISFACTION OF JUDGMENTS AND                                   PAGE 1 OF 3
JOINT REQUEST FOR DISMISSAL WITH PREJUDICE
      Case 3:20-cv-05695-TKW-EMT Document 35 Filed 05/26/21 Page 2 of 4




of THIRTY THOUSAND U.S. DOLLARS ($30,000), and said Judgment having

been fully paid, it is certified that there are no outstanding executions with any

Sheriff or Marshal,

       WHEREAS, Judgment [Dkt. 33] was entered in the above-action on May 3,

2021 in favor of plaintiff Tenetia Turner (“Plaintiff”) and Defendants in the amount

of FIFTY-FIVE THOUSAND U.S. DOLLARS ($55,000), and said Judgment

having been fully paid, it is certified that there are no outstanding executions with

any Sheriff or Marshal,

       WHEREAS, Judgment [Dkt. 34] was entered in the above-action on May 3,

2021 in favor of plaintiff Ashley Jordan (“Plaintiff”) and Defendants in the amount

of SEVENTY-FIVE THOUSAND U.S. DOLLARS ($75,000), and said Judgment

having been fully paid, it is certified that there are no outstanding executions with

any Sheriff or Marshal,

       THEREFORE, full and complete satisfaction of said judgments are hereby

acknowledged, and the Clerk of the Court is hereby authorized and directed to make

an entry of the full and complete satisfaction on the docket of said Judgments.

       FURTHER, Plaintiffs and Defendants respectfully request, pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii), dismissal of all of Plaintiffs’ claims

asserted in their last operative Complaint, with prejudice.



NOTICE OF SATISFACTION OF JUDGMENTS AND                                      PAGE 2 OF 3
JOINT REQUEST FOR DISMISSAL WITH PREJUDICE
      Case 3:20-cv-05695-TKW-EMT Document 35 Filed 05/26/21 Page 3 of 4




Respectfully submitted on May 26, 2021,

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NOTICE OF SATISFACTION OF JUDGMENTS AND                                  PAGE 3 OF 3
JOINT REQUEST FOR DISMISSAL WITH PREJUDICE
     Case 3:20-cv-05695-TKW-EMT Document 35 Filed 05/26/21 Page 4 of 4




                        CERTIFICATE OF SERVICE

      I certify that on Wednesday, May 26, 2021, a true and correct copy of the
attached NOTICE OF SATISFACTION OF JUDGMENTS AND
JOINT REQUEST FOR DISMISSAL WITH PREJUDICE was served via
CM/ECF on all participants of record, including the persons listed below, pursuant
to Fed. R. Civ. P. 5.

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                                                      /s/ Jesenia A. Martinez
                                                        Jesenia A. Martinez
